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Robert J. Legate, Esq. (CSBN 94110)
RLegate@LegateLaw.com

Christina B. Yee, Esq. (CSBN 258421)
CYee@LegateLaw.com a So
LEGATE LAW CORPORATION — ,
5000 Birch Street, Suite 405
Newport Beach, CA 92660
Telephone: 949-724-1770

Facsimile: 949-724-1717

Attorney for Plaintiff,
Betty Jo Goeden de Philippis

 

UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

SANTA ANA
wo . SACV12-574 CJC(MLGx)
BETTY JO GOEDEN DE PHILIPPIS, an CASE NO.
individual, Assigned for All Purposes:

Plaintiff,

OMPLAINT
Breach of Contract
False Promise
Concealment

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Vv. 1.
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4. Intentional Interference with
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)
MICHAEL SULLIVAN, an individual; )
CAPITAL RESEARCH GROUP, )
INCORPORATED D/B/A SIERRA FUNDS _ )
RECOVERY, INC., a Washington Corporation; )
GERALD F. GOEDEN, an individual; )
STUART J. WALD, an individual; and DOES 1 )
through [.0, inclusive, )
)

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)

Prospective Economic Relations
Negligent Interference with
Prospective Economic Relations
Professional Negligence
Conversion

Conspiracy

Defendant.

 

Plaintiff, BETTY JO GOEDEN DE PHILIPPIS (hereinafter “PLAINTIFF’’), alleges as
follows:
I.
VENUE AND SUBJECT MATTER JURISDICTION
1. This is an action for breach of contract, negligence, fraud, professional negligence,
conversion and conspiracy. This Court has original subject matter jurisdiction, under 28 U.S. C.

§1332 as the matter in controversy exceeds $75,000 and is between citizens of different states.

 

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2. Venue is proper in this Judicial District under 28 U.S.C. §1391(b) because a
substantial part of the events or omissions giving rise to the claim occurred in this District by
reasons of the Defendants’ conduct as alleged below.

Il.
PARTIES AND PERSONAL JURISDICTION

3. Plaintiff, BETTY JO GOEDEN DE PHILIPPIS (hereinafter “PLAINTIFF”), is an
individual doing business in the County of Orange, State of California. All communications
between PLAINTIFF and Defendants were conducted and/or occurred in the County of Orange,
State of California.

4, On information and belief, Defendant, MICHAEL SULLIVAN (hereinafter
“SULLIVAN?”), is an individual residing in City of Kenmore, King County, State of Washington.

5. On information and belief, Defendant CAPITAL RESEARCH GROUP,
INCORPORATED is a Washington corporation doing business as SIERRA FUNDS
RECOVERY, INC. (hereinafter “SIERRA FUNDS”), with its principal place of business in
Bothell, Washington at 10123 Main Place, Suite B.

6. On information and belief, Defendant GERALD F. GOEDEN (hereinafter
“GOEDEN’”), is an individual residing in the City of Las Vegas, Clark County, State of Nevada.

7. On information and belief, Defendant STUART J. WALD (hereinafter “WALD”),
is an individual residing in the City of Murrieta, Riverside County, State of California.

8. This Court has personal jurisdiction over Defendants because they conducted
substantial business within this district, and initiated contact with PLAINTIFF, a California
resident thereby availing themselves to the jurisdiction of this Court. PLAINTIFF’s harm arises
out of Defendant’s conduct within this district.

Wil.
FACTS
9, On May 19, 1962, PLAINTIFF and Defendant, GOEDEN were married.

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10. In and around June 1977 The Goeden Company was incorporated in the State of
California, by PLAINTIFF and GOEDEN. PLAINTIFF served as the Secretary and Treasurer of
The Goeden Company, from the time of its incorporation until it was suspended in May of 1984.

11. The Goeden Company filed a Chapter 11 bankruptcy in United States Bankruptcy
Court, Central District of California, Los Angeles Division on January 16, 1984, with the final
decree entered on December 1, 1984.

12. Irreconcilable differences having arisen between PLAINTIFF and GOEDEN, they
were divorced on July 7, 1988, eleven (11) years after The Goeden Company was incorporated.
The divorce settlement agreement was silent as to the division of The Goeden Company, despite it
being a community property asset.

13. On October 20, 2010, PLAINTIFF was contacted by telephone by Defendant, .
SULLIVAN, as agent and representative of Defendant, SIERRA FUNDS. During this
conversation, SULLIVAN informed PLAINTIFF that there were unclaimed funds stemming from
the Chapter 11 bankruptcy of The Goeden Company. SULLIVAN informed PLAINTIFF that he
and SIERRA FUNDS could recover the funds that were unclaimed by creditors during The
Goeden Company bankruptcy, approximately $503,000.00. PLAINTIFF informed SULLIVAN
and SIERRA FUNDS that The Goeden Company had been incorporated during marriage, but that
she and Defendant GOEDEN had since divorced. SULLIVAN further informed PLAINTIFF that
she and her ex-husband, GOEDEN, were the successors in interest and therefore entitled to the
unclaimed funds. During the conversation, PLAINTIFF gave SULLIVAN her ex-husband,
GOEDEN’s, personal contact information so that SULLIVAN and SIERRA FUNDS could contact
GOEDEN, personally.

14, On October 20, 2010, following their telephone conversation, SULLIVAN and
PLAINTIFF confirmed their conversation in emails. SULLIVAN informed PLAINTIFF, in
writing, that GOEDEN had, in fact, contacted him regarding the unclaimed funds of The Goeden
Company, and that SULLIVAN, as agent and representative of SIERRA FUNDS, looked forward

to assisting both her and GOEDEN in the recovery of the funds.

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COMPLAINT

 

 

 
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15. Thereafter, SIERRA FUNDS retained the services of WALD, a licensed California
attorney, who then filed the Motion for Disbursement of Unclaimed Funds on December 20, 2010.
The motion filed by WALD includes a declaration by SULLIVAN, who states under penalty of
perjury, that GOEDEN is the sole director and shareholder of The Goeden Company, and an
affidavit by GOEDEN, who states that he owned 100% of the shares of The Goeden Company.
However, no mention is made as to PLAINTIFF or her rightful interest in the funds.

16. Not having heard anything from SULLIVAN or SIERRA FUNDS following the
October 20, 2010 telephone conversation, PLAINTIFF contacted SULLIVAN by email on May 4,
2011.

17. The following day, on May 5, 2011, SULLIVAN responded to PLAINTIFF,
informing her that GOEDEN had contacted SULLIVAN and SIERRA FUNDS informing them
that he was the 100% owner of The Goeden Company, and further that the divorce settlement had
not affected this ownership. Based on this representation and doing no further discovery, SIERRA
FUNDS, with the assistance of SULLIVAN and WALD, successfully recovered $379,013.24 not
claimed by creditors, and the full payment, less SIERRA FUNDS’ recovery fee, was sent to
GOEDEN. _ re

18, On June 2, 2011, a formal demand was made by PLAINTIFF to GOEDEN for one-
half (4) of the payment sent to GOEDEN, the one-half representing PLAINTIFF’s one-half
community property interest therein.

FIRST CAUSE OF ACTION
Breach of Implied Contract
[Against Defendants SULLIVAN and SIERRA FUNDS]

19. | PLAINTIFF re-alleges and incorporates by reference all prior allegations as if fully
set forth herein.

20. On October 20, 2010, a contract was formed between PLAINTIFF and SIERRA
FUNDS. When SULLIVAN, as employee and agent of SIERRA FUNDS, represented that
SIERRA FUNDS and himself, “looked forward to working with [PLAINTIFF and GOEDEN] in
the recovery of funds on deposit for The Goeden Company,” an implied contract was formed.

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21, PLAINTIFF informed SULLIVAN that The Goeden Company had been formed
during her marriage to GOEDEN, and that she had been the Secretary and Treasurer of The
Goeden Company for the entirety of the company’s existence. Based on this, SULLIVAN
informed PLAINTIFF that she and GOEDEN, together, would be the successors in interest to the
recovered funds.

22. Based on such representations and actions an implied contract was formed, which
obligated SIERRA FUNDS to fulfill the terms of the contract and recover funds on behalf of
PLAINTIFF and GOEDEN, jointly.

23. SULLIVAN and SIERRA FUNDS breached the terms of the contract with
PLAINTIEF by recovering the unclaimed funds of The Goeden Company and turning over those
funds to GOEDEN, only.

24. SULLIVAN and SIERRA FUNDS failed to make any further inquiry into
PLAINTIFF’s known community property interest, or protect such interest, after Defendant
GOEDEN alleged he was the sole shareholder.

25. As aresult of the actions and omissions of SULLIVAN and SIERRA FUNDS,
PLAINTIFF has been damaged in an amount not less than $189,506.62.

SECOND CAUSE OF ACTION
False Promise
[Against Defendants SULLIVAN and SIERRA FUNDS]

26. PLAINTIFF re-alleges and incorporates by reference all prior allegations as if fully
set forth herein.

27. Defendants, SULLIVAN and SIERRA FUNDS, made a promise to PLAINTIFF, to
assist her as a successor in interest in the recovery of unclaimed funds from the bankruptcy of The
Goeden Company. Such promise was important, and integral, to.the formation of the contract
between PLAINTIFF and SIERRA FUNDS.

28. | PLAINTIFF’s reliance on such a promise was justified and reasonable.

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29. Defendants, SULLIVAN and SIERRA FUNDS, failed to perform their promised
act, namely representing PLAINTIFF in the recovery of the unclaimed funds from the bankruptcy
of The Goeden Company.

30, As aresult of Defendants, SULLIVAN and SIERRA FUNDS, failure to perform,
PLAINTIFF was harmed, in an amount not less-than $189;506.62.

31. Such promises were made with a clear and obvious intent to hinder, delay and
defraud the PLAINTIFF, and were intentional acts that were willful, malicious, wanton and

oppressive, undertaken with the intent to defraud, and justify exemplary and punitive damages
according to proof at time of trial.
THIRD CAUSE OF ACTION
Concealment
[Against Defendant GOEDEN]

32. PLAINTIFF re-alleges and incorporates by reference all prior allegations as if fully
-set forth herein.

33. Defendant GOEDEN intentionally failed to disclose to SIERRA FUNDS that
PLAINTIFF had a community property interest in The Goeden Company, and therefore was a
successor in interest.

34. PLAINTIFF’s community property interest in The Goeden Company was an
important fact, and Defendant GOEDEN’s intentional failure to disclose PLAINTIFF’s community
property interest to SIERRA FUNDS made his disclosure that he was the sole stockholder of The
Goeden Company deceptive.

35. As aresult of Defendant GOEDEN’s intentional concealment, PLAINTIFF was
harmed, in an amount not less than $189,506.62.

36. Such concealment was made with a clear and obvious intent to hinder, delay and
defraud the PLAINTIFF, and were intentional acts that were willful, malicious, wanton and
oppressive, undertaken with the intent to defraud, and justify exemplary and punitive damages

according to proof at time of trial.

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FOURTH CAUSE OF ACTION
Intentional Interference with Prospective Economic Relations
[Against Defendant GOEDEN]

37. PLAINTIFF re-alleges and incorporates by reference all prior allegations as if fully
set forth herein.

38. | PLAINTIFF had been contacted by, and had formed a contract, with SULLIVAN
and SIERRA FUNDS to permit SIERRA FUNDS to collect on PLAINTIFF’s behalf, unclaimed
funds from The Goeden Company bankruptcy.

39, Defendant GOEDEN knew this, as PLAINTIFF was informed that GOEDEN had
contacted SULLIVAN and SIERRA FUNDS to seek out SIERRA FUNDS’ assistance in
recovering the same unclaimed funds.

AQ. GOEDEN, having been informed that SULLIVAN and SIERRA FUNDS had
reached out to PLAINTIFF prior to their contact with him, intended to disrupt the contractual
relationship between PLAINTIFF and SIERRA FUNDS. He did so by failing to inform
SULLIVAN and SIERRA FUNDS that The Goeden Company, incorporated during marriage, was
a community property asset, half of which belonged to PLAINTIFF.

41. Asaresult of GOEDEN’s wrongful conduct in intentionally failing to disclose
PLAINTIFF’s community property interest in The Goeden Company, PLAINTIFF’s relationship
with SULLIVAN and SIERRA FUNDS was disrupted and resulted in harm to the PLAINTIFF.
PLAINTIFF was harmed in an amount not less than $189,506.62.

42. Such actions and omissions on the part of GOEDEN were done with a clear and
obvious intent to hinder, delay and defraud the PLAINTIFF, and were intentional acts that were
willful, malicious, wanton and oppressive, undertaken with the intent to defraud, and justify

exemplary and punitive damages according to proof at time of trial.

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FIFTH CAUSE OF ACTION
Negligent Interference with Prospective Economic Relations
[Against Defendants GOEDEN and WALD]

43. PLAINTIFF re-alleges and incorporates by reference all prior allegations as if fully
set forth herein.

44, PLAINTIFF and SIERRA FUNDS formed a contract that would have resulted in
future economic benefit to the PLAINTIFF.

4S. Attorney WALD, a licensed California attorney, was hired by SIERRA FUNDS, a
Washington corporation, to seek recovery of the unclaimed funds from The Goeden Company
bankruptcy. Having been hired to represent SIERRA FUNDS, WALD knew, or should have
known, that PLAINTIFF had a community property interest in The Goeden Company and
therefore was a successor in interest to the assets of the company, such a fact. was readily known to
SULLIVAN and SIERRA FUNDS.

46. | GOEDEN also knew, or should have known, of the economic relationship that
existed between PLAINTIFF and SIERRA FUNDS as SIERRA FUNDS had contacted, or been
contacted by, both PLAINTIFF and GOEDEN in relation to the unclaimed funds of The Goeden
Company. Further, it was PLAINTIFF who had supplied GOEDEN’s contact information to
SULLIVAN and SIERRA FUNDS, and had informed them that The Goeden Company was a
community property asset that required both PLAINTIFF and GOEDEN’s authorization to act.

47, WALD and GOEDEN knew, or should have known, that PLAINTIFF’s economic
relationship with SIERRA FUNDS would be disrupted if they failed to act with reasonable care.

48. WALD failed to act with reasonable care and engaged in wrongful conduct by
failing to inquire into and protect PLAINTIFF’s community property interest, despite the fact that
WALD knew or should have known that The Goeden Company was formed during marriage.

49. GOEDEN also failed to act with reasonable care by purposefully engaging in
wrongful conduct. He knew The Goeden Company had been formed during marriage, and he
knew that the divorce judgment had been silent on the issue of division of this asset, therefore
PLAINTIFF had never been awarded her community property interest in the asset.

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50. As aresult of the wrongful conduct of WALD and GOEDEN, PLAINTIFF’s
economic relationship with SULLIVAN and SIERRA FUNDS was disrupted, and resulted in harm
to PLAINTIFF. PLAINTIFF was harmed in an amount not less than $189,506.62.

SIXTH CAUSE OF ACTION
Professional Negligence
[Against Defendant WALD]

51. PLAINTIFF re-alleges and incorporates by reference all prior allegations as if fully
set forth herein.

52. WALD, a licensed California attorney, was retained by SIERRA FUNDS to
represent the interests of the successors in interest to The Goeden Company. As agent for
SIERRA FUNDS, the knowledge which SIERRA FUNDS held is imputed to WALD.
Specifically, SIERRA FUNDS knew that The Goeden Company was a community property asset
in which PLAINTIFF held a one-half (4) interest.

53. WALD owed an equal duty to all those successors in interest to The Goeden
Company.

54. WALD, acting within the scope of his employment as attorney for SIERRA
FUNDS when he moved to seek distribution of unclaimed funds of The Goeden Company, failed
to exercise reasonable care in protecting PLAINTIFF’s community property interest.

55. As aresult of WALD’s breach of his duty as an attorney, PLAINTIFF was harmed
in an amount not less than $189,506.62.

SEVENTH CAUSE OF ACTION
Conversion
[Against All Defendants]

56. PLAINTIFF re-alleges and incorporates by reference all prior allegations as if fully
set forth herein.

57. PLAINTIFF, as a successor in interest to The Goeden Company, had a right to
possess one-half (2) of the unclaimed funds remaining in the bankruptcy of The Goeden
Company.

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58. Defendant SIERRA FUNDS intentionally and substantially interfered with
PLAINTIFF’s property by failing to protect her one-half (2) community property interest and
purposefully disposing of said funds to a party not the PLAINTIFF, despite knowing The Goeden
Company was a community property asset.

59. Defendant SULLIVAN intentionally and substantially interfered with
PLAINTIFF’s property by failing to protect her one-half (4) community property interest, despite
being told by PLAINTIFF that she was an officer of The Goeden Company and owned a one-half
(4) community property interest in the company.

60. Defendant GOEDEN intentionally and substantially interfered with PLAINTIFF’s
property by wrongfully taking possession of PLAINTIFF’s one-half (’4) of the recovered funds
from The Goeden Company bankruptcy, and refusing after demand was made, to return the funds
to PLAINTIFF. .

61. Defendant WALD, in failing to exercise reasonable diligence, prevented
PLAINTIFF from having access to her one-half (4) community property share of the recovered
funds from The Goeden Company bankruptcy.

62. PLAINTIFF did not consent for any of the aftorementioned Defendants to take
possession of, or prevent her from taking possession of, her one-half (2) community property
share of the recovered funds from The Goeden Company bankruptcy.

63. As aresult of Defendants SULLIVAN, SIERRA FUNDS, GOEDEN, and WALD’s
wrongful acts and omissions, PLAINTIFF was harmed in an amount not less than $189,506.62.

64, Such actions and omissions on the part of Defendants SULLIVAN, SIERRA
FUNDS, GOEDEN, and WALD were done with a clear and obvious intent to hinder, delay and
defraud the PLAINTIFF, and were intentional acts that were willful, malicious, wanton and
oppressive, undertaken with the intent to defraud, and justify exemplary and punitive damages

according to proof at time of trial.

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COMPLAINT

 

 
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EIGTH CAUSE OF ACTION
Conspiracy to Commit Fraud
[Against All Defendants]

65. PLAINTIFF re-alleges and incorporates by reference all prior allegations as if fully
set forth herein.

66. Defendants, and each and every one of them, were aware that the other planned to
prevent PLAINTIFF from being able to take possession of her one-half (2) community property
interest in the recovered funds from The Goeden Company bankruptcy.

67. Defendants, and each and every one of them, agreed with the other and intended
that the fraud be committed to prevent PLAINTIFF from being able to take possession of her one-
half (4) community property interest in the recovered funds from The Goeden Company
bankruptcy.

68. As aresult of Defendants SULLIVAN , SIERRA FUNDS, GOEDEN, and WALD’s
wrongful acts and omissions, PLAINTIFF was harmed in an amount not less than $189,506.62.

69. Such actions and omissions on the part of Defendants SULLIVAN, SIERRA
FUNDS, GOEDEN, and WALD were done with a clear and obvious intent to hinder, delay and
defraud the PLAINTIFF, and were intentional acts that were willful, malicious, wanton and

oppressive, undertaken with the intent to defraud, and justify exemplary and punitive damages

according to proof at time of trial.
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COMPLAINT

 

 
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1 WHEREFORE, PLAINTIFF prays for judgment in her favor and against Defendants, and
2 || each of them as follows:

3 1. For compensatory damages against Defendants, jointly and severally, in an amount
4 to be proven at trial, but not less than $189,506.62;

5 2. For interest at the legal rate;

6 3. For exemplary and punitive damages;

7 4 For reasonable attorney’s fees and costs of suit incurred herein; and,

8 5. For such other and further relief as the Court may deem just and proper.

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13 Attorney for Plamt o Goeden de

Philippis
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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge Cormac J. Carney and the assigned
discovery Magistrate Judge is Marc Goldman.

The case number on all documents filed with the Court should read as follows:

SACV12- 574 cuc (MLGx)

Pursuant to General Order 05-07 of the United States District Court for the Central
District of California, the Magistrate Judge has been designated to hear discovery related
motions.

All discovery related motions should be noticed on the calendar of the Magistrate Judge

NOTICE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
filed, a copy of this notice must be served on all plaintiffs).

Subsequent documents must be filed at the following location:

Western Division [x Southern Division © Eastern Division
312 N. Spring St., Rm. G-8 411 West Fourth St., Rm. 1-053 3470 Twelfth St., Rm. 134
Los Angeles, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

Failure to file at the proper location will result in your documents being returned to you.

 

CV-18 (03/06) NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY
ORIGINAL

Case 8:12-cv-00574-BRO-MLG Document1 Filed 04/16/12 Page 14 0f16 Page ID #:16

Name & Address:

Robert J. Legate, Esq. (CSBN 94110)
Legate Law Corporation

5000 Birch Street, Suite 405
Newport Beach, CA 92660
Telephone: (949) 724-1770

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

BETTY JO GOEDEN DE PHILIPPIS, an individual, _ | CASE NUMBER

 

SACV12-574 CJC(MLGx)

PLAINTIFF(S)
Vv.

 

MICHAEL SULLIVAN, an individual; CAPITAL
RESEARCH GROUP, INCORPORATED D/B/A
SIERRA FUNDS RECOVERY, INC., a Washington
Corporation; GERALD F. GOEDEN, an individual; SUMMONS
STUART J. WALD, an individual; and DOES 1

through | 0, inclusive DEFENDANT(S).

 

 

TO: DEFENDANT(S):

A lawsuit has been filed against you.

Within 21 __ days after service of this summons on you (not counting the day you received it), you

 

must serve on the plaintiff an answer to the attached complaint O amended complaint

C counterclaim 0 cross-claim or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer
or motion must be served on the plaintiffs attomey, Robert J. Legate , whose address is
5000 Birch Street, Suite 405, Newport Beach, CA 92660 . If you fail to do so,

 

judgment by default will be entered against you for the relief demanded in the complaint. You also must file
your answer or motion with the court.

Clerk, U.S.

 
 
   

APR '¥'6 217

Dated: By:

 

Dept Clerk

(Seal of the Court)

[Use 60 days if the defendant is the United States or a United States agency, or is an officer or employee of the United States. Allowed
60 days by Rule 12(a)(3)].

 

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UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEET

 

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PLAINTIFFS (Check box if
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IPPIS, an individual

are representing yourself Q) ~

DOES | through 20.

DET ENPAY SULLIVAN, an individual; CAPITAL RESEARCH GROUP, INC.
d/b/a SIERRA FUNDS RECOVERY, INC., a Washington corporation;
GERALD F, GOEDEN, an individual; STUART J. WALD, an individual; and

 

(b) Attorneys (Firm Name, Address and Telephone Number. If you are representing

yourself, provide same.)

Robert J. Legate, Esq. (CSBN 94110); Legate Law Corporation

5000 Birch Street, Suite 405, Newport Beach, CA 92660

Telephone: (949) 724-1770

 

Attomeys (If Known)

 

Il. BASIS OF JURISDICTION (Place an X in one box only.)

01 U.S. Government Plaintiff

(2 U.S. Government Defendant

a

4 Diversity (Indicate Citizenship

3 Federal Question (U.S.

Government Not a Party)

of Parties in Item ITI)

 

Ill. CITIZENSHIP OF PRINCIPAL PARTIES - For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant.)
P DEF PTF DEF

Citizen of This State 1 (1 Incorporated or Principal Place O4 O14
of Business in this State

Citizen of Another State O02 ue) Incorporated and Principal Place O15 Ms
of Business in Another State

Citizen or Subject of a Foreign Country (3 (13 Foreign Nation O06 6

 

IV. ORIGIN (Place an X in one box only.)

&) Ori ginal
Proceeding

(2 Removed from (3 Remanded from 14 Reinstated or
State Court

Appellate Court

Reopened

15 Transferred from another district (specify):

O6 Multi- O7 Appeal to District
District Judge from
Litigation Magistrate Judge

 

V. REQUESTED IN COMPLAINT: JURY DEMAND: 0 Yes M4No (Check ‘Yes’ only if demanded in complaint.)
CLASS ACTION under FRCP. 23: O Yes “No

& MONEY DEMANDED IN COMPLAINT: 3189,506.62

 

VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
28 U.S.C. 1332 (Breach of Contract, Fraud, Professional Negligence, Conspiracy, Intentional Interference with Economic Relations, Conversion)

 

VIL. NATURE OF SUIT (Place an X in one box only.)

 

 

 

 

 

 

 

 

 

_ OTHER STATUTES CONTRACT TORTS TORTS PRISONER LABOR
11400 State Reapportionment |(1 110 Insurance PERSONAL INJURY PERSONAL PETITIONS (1710 Fair Labor Standards
0410 Antitrust (1120 Marine 0310 Airplane PROPERTY (1510 Motions to Act
1430 Banks and Banking 1130 Miller Act 1315 Airplane Product 370 Other Fraud Vacate Sentence {1720 Labor/Mgmt.
(9450 Commerce/ICC (1140 Negotiable Instrument Liability 371 Truth in Lending Habeas Corpus Relations
Rates/etc. 150 Recovery of 1320 Assault, Libel& (9380 Other Personal {1530 General 0730 Labor/Mgmt.
01460 Deportation Overpayment & Stander Property Damage |{1535 Death Penalty Reporting &
(1470 Racketeer Influenced Enforcement of 1330 Fed. Employers’ (385 Property Damage JC) 540 _Mandamus/ Disclosure Act
and Corrupt Judgment Liability Product Liability Other (1740 Railway Labor Act
Organizations 1151 Medicare Act 0340 Marine BANKRUPTCY [0550 CivilRights {2790 Other Labor
(2480 Consumer Credit (1152 Recovery of Defaulted 0345 wean Product 1422 Appeal 28 USC {0555 Prison Condition Litigation
(1490 Gable/Sat TV Student Loan (Excl. | 359 Motat Vehicle 158 ~~ FORFEITURE * * |{1791 Empl. Ret. Inc.
0810 Selective Service Veterans) (1355 Motor Vehicle (423 Withdrawal 28 PENALTY Security Act
0850 Securities/Commodities/}O1 153 Recovery of Product Liability USC 157 0610 Agriculture _ PROPERTY RIGHTS
Exchange Overpayment of (9360 Other Personal CIVIL RIGHTS (1620 Other Food & (1 820 Copyrights
(1875 Customer Challenge 12 Veteran’s Benefits Injury 0441 Voting Drug 0 830 Patent
USC 3410 (1160 Stockholders’ Suits (1362 Personal Injury- {21442 Employment (1625 Drug Related 840 Trademark
11890 Other Statutory Actions )( 190 Other Contract Med Malpractice [1 443 Housing/Acco- Seizure of SOCIAL SECURITY
1891 Agricultural Act (1195 Contract Product (9365 Personal Injury- mmodations Property 21 USC [0 861 HIA (1395ff)
01892 Economic Stabilization Liability Product Liability [0444 Welfare 881 1862 Black Lung (923)
Act 1196 Franchise (2368 Asbestos Personal {(1445 American with (1630 Liquor Laws (1863 DIWC/DIWW
(7893 Environmental Matters | - REAL PROPERTY Injury Product Disabilities - 0640 RR. & Truck (405(g))
0894 Energy Allocation Act {(1210 Land Condemnation Liability Employment (7650 Airline Regs 0 864 SSID Title XVI
(1895 Freedom of Info. Act (4220 Foreclosure IMMIGRATION (1446 American with {(1660 Occupational 865 RSI (405(g))
(1900 Appeal of Fee Determi- [£230 Rent Lease & Ejectment j11462 Naturalization Disabilities - Safety /Health FEDERAL TAX SUITS
nation Under Equal 0 240 Torts to Land Application Other 0690 Other 0 870 Taxes (U.S. Plaintiff
Access to Justice (1245 Tort Product Liability |(1463 Habeas Corpus- [7] 440 Other Civil or Defendant)
(4950 Constitutionality of 290 All Other Real Property Alien Detainee Rights (1871 IRS-Third Party 26
State Statutes (1465 Other Immigration USC 7609
Actions
FOR OFFICE USE ONLY: — Case Nuraber: SACV12-574 CJC(MLGx)

AFTER COMPLETING THE FRONT SIDE OF F ORM cV-11, COMPLETE THE INFORMATION REQUESTED BELOW.

 

CV-71

(05/08)

CIVIL COVER SHEET

Page | of 2
Case 8:12-cv-00574-BRO-MLG Document1 Filed 04/16/12 Page 16 o0f16 Page ID #:18

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEET

VIU(a). IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? WNo O Yes
If yes, list case number(s):

 

VIII(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? No Yes
If yes, list case number(s):

 

Civil cases are deemed related if a previously filed case and the present case:
(Check all boxes that apply) OA. Arise from the same or closely related transactions; happenings, or events; or
OB. Call for determination of the same or substantially related or similar questions of law and fact; or
COC. For other reasons would entail substantial duplication of labor if heard by different judges; or
OD, Involve the same patent, trademark or copyright, and one of the factors identified above in a, b orc also is present.

 

IX. VENUE: (When completing the following information, use an additional sheet if necessary.)

(a) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH named plaintiff resides.
(Check here if the government, its agencies or employees is a named plaintiff. _If this box is checked, go to item (b).

 

County in this District:* California County outside of this District; State, if other than Califomia; or Foreign Country

 

 

Riverside County

 

(b) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH named defendant resides.

 

Check here if the government, its agencies or employees is a named defendant. If this box is checked, go to item (c).

County in this District:* California County outside of this District; State, if other than California; or Foreign Country

 

Riverside County, Califormia
State of Washington
State of Nevada

 

 

 

(c) List the County in this District; Califomia County outside of this District; State if other than California; or Foreign Country, in which EACH claim arose.
Note: In land condemnation cases, use the location of the tract of land involved.

 

County in this District:* California County outside of this District; State, if other than California; or Foreign Country

 

County of Orange, California

 

 

 

 

* Los Angeles, Orange, San Bernardino, Riverside, Yentura, Santa eed N. San Luis Obispo Counties

  

 

or other papers as required by law. This form, approved by the Judicial Cofiference of the United States in September 1974, is required pursuant to Local Rule 3-1 is not filed
but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (For more detailed instructions, see separate instructions sheet.)

 

Key to Statistical codes relating to Social Security Cases:

Nature of Suit Code Abbreviation Substantive Statement of Cause of Action

861 HIA All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended.
Also, include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the
program. (42 U.S.C, 1935FF(b))

862 BL Alt claims for “Black Lung” benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969.
(30 U.S.C. 923)

863 DIWC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as
amended; plus all claims filed for child’s insurance benefits based on disability. (42 U.S.C. 405(g))

863 DIWW All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security
Act, as amended. (42 U.S.C. 405(g))

864 SSID Aliclaims for supplemental security income payments based upon disability filed under Title 16 of the Social Security
Act, as amended.

865 RSI All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended. (42
U.S.C. (g))

 

CV-71 (05/08) CIVIL COVER SHEET Page 2 of 2
